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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION




SIMON GANG,                  :
                             :
            Plaintiff,       :                    Civil Action File No.
                             :                    1:21-CV-2298 TCB RDC
         v.                  :
                             :                    Jury Trial Demand
GENERAL ELECTRIC COMPANY;    :
GENERAL ELECTRIC             :
INTERNATIONAL, INC.; and GE  :
DIGITAL ENERGY INTERNATIONAL :
TECHNOLOGY INC.              :
                             :
            Defendants.      :
                             :

                                 COMPLAINT

      COMES NOW Plaintiff, Simon Gang (“Plaintiff”), by and through counsel

undersigned, hereby submits his Complaint against the Defendants, General

Electric Company, General Electric International, Inc., and GE Digital Energy

International Technology Inc., (collectively referred to herein as “Defendants” or

“GE”), and shows the Court, as follows:




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                                     Authority

                                           1.

      This cause of action arises under the provisions of 42 U.S.C. § 1981

(“Section 1981”), seeking a remedy for race discrimination and retaliation for

speaking out against discriminatory work-related practices in regard to race and

national origin. This cause of action also arises under the provisions of the

Americans with Disabilities Act, 42 U.S.C. §§ 12101, et seq., (the “ADA”),

seeking a remedy for disability-based discrimination and retaliation, all of which

occurred during Plaintiff’s employment with Defendants.

                                           2.

      All jurisdictional prerequisites to the institution of Plaintiff’s lawsuit have

been fulfilled. Plaintiff filed his initial Charge of Discrimination within 180 days of

the discriminatory acts; Plaintiff was issued a Notice of Right to Sue from the

EEOC; and, Plaintiff now files this Complaint within 90 days of receipt of said

Notice. Plaintiff’s June 18, 2020 EEOC Charge of Discrimination is attached

hereto as Exhibit A.

                         Parties, Jurisdiction and Venue

                                           3.

      Plaintiff is a resident of the Northern District of Georgia.


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                                         4.

      Defendant, General Electric Company, is a Foreign Profit Corporation,

doing business in Georgia, with its principal office located at 5 Necco Street,

Boston, Massachusetts 02210. This Defendant may be served via its registered

agent for service of process, C T Corporation System, 289 South Culver Street,

Lawrenceville, Georgia 30046-4805.

                                         5.

      Defendant, General Electric International, Inc., is a Foreign Profit

Corporation, doing business in Georgia, with its principal office located at 191

Rosa Parks Road, Cincinnati, Ohio 45202. This Defendant may be served via its

registered agent for service of process, C T Corporation System, 289 South Culver

Street, Lawrenceville, Georgia 30046-4805.

                                         6.

      Defendant, GE Digital Energy International Technology Inc., is a Foreign

Profit Corporation, doing business in Georgia, with its principal office located at

4200 Wildwood Parkway, Atlanta, Georgia 30339-8402. This Defendant may be

served via its registered agent for service of process, C T Corporation System, 289

South Culver Street, Lawrenceville, Georgia 30046-4805.




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                                          7.

      Jurisdiction of this Court is proper pursuant to 28 U.S.C. §§ 1331 and 1337.

                                          8.

      Pursuant to 28 U.S.C. § 1391, venue is appropriate in this judicial district as

Defendants conduct business in, and maintain a registered agent in, the Northern

District of Georgia.

                                Factual Allegations

                                          9.

      Plaintiff came to the United States when he was 15 years old and finished

high school and university here. He graduated in 2014 with a Bachelors in

Business from North Carolina State University. He is currently a permanent

resident (green card) in the United States and is in the process of obtaining his

United States citizenship. He is currently a citizen of the Republic of Korea.

                                          10.

      Plaintiff is Asian and of South Korean descent. He was hired by Defendants

in December of 2017. His title was Life Cycle Operations Specialist.

                                          11.

      Plaintiff performed his work well, and was often given work to accomplish

which was actually the responsibility of others.


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                                         12.

      Plaintiff was given more work than his coworkers because he is Asian and of

Korean descent.

                                         13.

      Plaintiff complained about this discrimination and being treated differently

because of his race and national origin to ombuds, a Human Resources (“HR”)

investigator, as well as GE’s corporate lawyer.

                                         14.

      Plaintiff was a member of the Lifecycle Operations/Provisioning team at

GE.    There was a total of three Lifecycle Operations Specialists, including

Plaintiff, who were in the same rank/level. Plaintiff was the only Asian person and

the other two were African Americans.

                                         15.

      The other two Lifecycle Operations Specialists’ names were Kehinde

Ajiboye (Nigerian American) and Casharee Smith (African American). The two

African American team members were only given provisioning tasks, which

consisted of working with internet providers to get quotes and order internet

circuits for GE sites around the world, following up with vendors on statuses and

updating Service Now tickets.


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                                          16.

      Plaintiff’s Manager, Jeanne Kelley (“Kelley”), started to give Plaintiff extra

tasks, including local bill payments for foreign internet circuits, business analysis

on cost savings and asset verification, reviewing invoices to find extra savings

(work Kelley was assigned to do by the company that she did not want to do), and

other teams’ extra work, such as billing and finance tasks.

                                          17.

      The normal provisioning tasks, which was Plaintiff’s work duty/description

was only 15% to 20% of the work he did; 80% of his work was the extra work

given to him by Kelley.

                                          18.

      When Plaintiff asked Kelley why he was given so much more, burdensome

work as compared to his peers on the same level, she told Plaintiff that he got the

extra work because he was Asian and she knew that Asians have a much better

work ethic than African American/Black people, can finish work much faster while

working on much more volume, and are smarter than Black people.

                                          19.

      Kelley said she expected Plaintiff to do extra work that she gave him with no

questions asked. When he complained to her and to HR regarding the extremely


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burdensome work she was giving him, which was not in his job title, the HR

Manager told Plaintiff that Kelley can add extra job descriptions and that his

manager had unlimited authority to do so.

                                         20.

      Also, when Plaintiff brought up that he was treated differently because he

was Asian, HR replied by telling him that he worked faster than the other races and

that Asians are smarter, so they should be able to handle much more work and

should be able to do it all.

                                         21.

      Since Plaintiff complained to both HR and his manager, they retaliated by

giving him even more extra work and projects which were made up to harass him

in the workplace. They also put him on a performance improvement plan, even

though his job performance was great.

                                         22.

      Since Plaintiff was retaliated against for reporting his concerns, he reached

out to the company’s ombuds team, where they assigned his case to an HR

investigator and corporate lawyer.




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                                           23.

      Plaintiff spoke to the HR investigator and the corporate lawyer on many

occasions about what was communicated to his manager and HR, and he also

wrote several letters about his being discriminated against for being Asian.

                                           24.

      Despite long phone calls telling them about the discrimination and

retaliation, the ombuds/HR investigator/GE legal team decided that Kelley and the

HR Manager, Megan Castallo (“Castallo”), did nothing wrong and they told

Plaintiff that they found no evidence of racial discrimination.

                                           25.

      After Plaintiff complained to ombuds/HR investigator/GE legal team,

Kelley and Castallo retaliated by adding even more made up projects on top of

Plaintiff’s already overly burdensome workload and threatened him. Kelley’s boss,

Steve Murphy, supported these actions, which created an extremely hostile work

environment for Plaintiff.

                                           26.

      In fact, while working for GE and its agents, comments were made about the

Plaintiff that show direct evidence of national origin and race discrimination. GE,

through its agents, commented:


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          • Asians are smarter than the other workers on your team, I expect you

             to do more work than them.

          • Asians can handle bigger workloads and can work faster, that is why I

             am assigning you much more work than your coworkers.

          • In referring to Plaintiff’s coworker, it was said that he is from Nigeria

             and not as skilled as Asian workers.

                                          27.

        Because he is Asian, Plaintiff was given more work than his non-Asian

coworkers. Where some of his coworkers simply handled tickets, Plaintiff was

expected to handle tickets, as well as asset clean-up, business analysis, and much

more.

                                          28.

        When Plaintiff complained about this discriminatory treatment, he was

retaliated against.

                                          29.

        In January of 2020, Plaintiff advised Kelley that his health was being

adversely affected by his workload and that, his doctor had stated that due to work-

related stress, Plaintiff had developed high blood pressure (“HBP”).




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                                          30.

      Kelley was angered that Plaintiff had solicited the assistance of the

Company ombudsman regarding 1) Plaintiff’s ever-increasing workload; 2) Kelley

turning a deaf ear to Plaintiff’s concerns regarding his workload on account of

being Asian, and 3) Plaintiff advising the ombudsman that he was being accused of

errors which were, in fact, made by Kelley. Consequently, Plaintiff was ostracized

and Kelley’s hostility toward him was always evident.

                                          31.

      On January 21, 2020, Kelley placed Plaintiff on a Performance Improvement

Plan (“PIP”).

                                          32.

      On February 6, 2020, Kelley refused Plaintiff’s request for time off to attend

a doctor appointment regarding his HBP.

                                          33.

      Plaintiff continued to try to perform his duties within the tense and hostile

environment Kelley had created, but, on April 8, 2020, Plaintiff was told that he

had failed to meet his PIP requirements and Plaintiff was terminated.




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                                  COUNT I
              (National Origin, Race, Color and Ethnicity Hostile
              Work Environment, Discrimination and Retaliation)
                           (42 U.S.C. Section 1981)

                                           34.

      Plaintiff incorporates by reference, as though fully set forth herein, the

allegations contained in the preceding paragraphs.

                                           35.

      Defendants created a hostile work environment and discriminated against the

Plaintiff because of his race, national origin and ethnicity in violation of 42 U.S.C.

§ 1981.

                                           36.

      Defendants retaliated against Plaintiff for engaging in a protected activity, in

violation of Section 1981, because he spoke out regarding GE’s discriminatory

workplace practices and opposed the discriminatory treatment he experienced, as

an Asian and Korean, in GE’s workplace.

                                           37.

      After Plaintiff’s complaints, Defendants created a retaliatory, hostile work

environment, as well as other retaliation, resulting in Plaintiff’s eventual

termination. Defendants’ treatment of Plaintiff would have dissuaded any

reasonable worker from making or supporting a charge of discrimination.

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                                           38.

      Defendants willfully, wantonly, and intentionally violated Section 1981, in

reckless and callous disregard of Plaintiff’s federally protected rights.

                                COUNT II
(Disability Hostile Work Environment, Discrimination and Retaliation - ADA)

                                           39.

      Plaintiff incorporates by reference, as though fully set forth herein, the

allegations contained in the preceding paragraphs.

                                           40.

      Defendants discriminated against Plaintiff because he was disabled.

                                           41.

      In the same month that Plaintiff advised Kelley regarding his HBP, Kelley

placed Plaintiff on a PIP.

                                           42.

      Less than three months after being placed on the PIP, Plaintiff was

terminated.

                                           43.

      After Plaintiff’s complaints about disability discrimination, Defendants

created a retaliatory hostile work environment, as well as other retaliation,

resulting in Plaintiff’s eventual termination. Defendants’ treatment of Plaintiff

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would have dissuaded any reasonable worker from making or supporting a charge

of discrimination.

                                           44.

      Defendants performed the above described discriminatory and retaliatory

actions willfully, wantonly, intentionally, and in reckless and callous disregard of

Plaintiff’s federally protected rights.

      WHEREFORE, Plaintiff respectfully prays for judgment against the

Defendants, as follows:

      (a)    That Defendants be ordered to formulate, distribute and implement a

      written policy which does not discriminate or violate in any manner which is

      a violation of Section 1981 or the ADA;

      (b)    That Defendants be ordered to re-hire, compensate, reimburse and

      make whole the Plaintiff for all benefits, if any, he would have received had

      it not been for Defendants’ illegal actions;

      (c)    That Plaintiff recover compensatory damages for Defendants’ willful

      violations of Section 1981 and the ADA;

      (d)    That Plaintiff be awarded compensatory damages to compensate for

      the humiliation, pain, suffering and stigma associated with discrimination

      and retaliation;


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     (e)   That Plaintiff be awarded punitive damages to punish the Defendants

     for their unlawful actions;

     (f)   That Plaintiff recover costs and expenses of litigation including an

     award of reasonable attorney's fees;

     (g)   That Plaintiff recover prejudgment interest;

     (h)   That this Court issue a declaratory judgment that the practices

     complained of are unlawful and void; and

     (i)   For such other and further relief as this Court deems just and proper.

                                   Jury Demand

     Plaintiff herein demands a trial by jury of all issues in this action.

     Dated this 3rd day of June 2021.

                                        PANKEY & HORLOCK, LLC


                                        By: /s/ Larry A. Pankey      .
                                             Larry A. Pankey
                                             Georgia Bar No. 560725
                                             Attorneys for Plaintiff

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                      CERTIFICATION OF FONT SIZE

      Pursuant to Local rule 5.1C of the Local Rules of the United States District

Court for the Northern District of Georgia, I, Larry A. Pankey, Esq., of Pankey &

Horlock, LLC, attorney for Plaintiff, Simon Gang, hereby certify that the foregoing

Complaint is typewritten in MS Word using Times New Roman font, fourteen

(14) point type.

      Dated this 3rd day of June 2021.

                                         PANKEY & HORLOCK, LLC


                                         By: /s/ Larry A. Pankey        .
                                              Larry A. Pankey
                                              Georgia Bar No. 560725
                                              Attorneys for Plaintiff




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               IN THE UNITED STATES DISTRICT COURT
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SIMON GANG,                  :
                             :
            Plaintiff,       :                         Civil Action File No.
                             :
         v.                  :
                             :
GENERAL ELECTRIC COMPANY;    :
GENERAL ELECTRIC             :
INTERNATIONAL, INC.; and GE  :
DIGITAL ENERGY INTERNATIONAL :
TECHNOLOGY INC.              :
                             :
            Defendants.      :
                             :

                          CERTIFICATE OF SERVICE

      I hereby certify that on this day I electronically filed the foregoing

Complaint with the Clerk of Court using the CM/ECF system, which will send

notification, via email, of such filing to all counsel of record as follows:

                                   Michael Dubus
                             General Electric Company
                              Michael.Dubus@GE.com
                              Attorneys for Defendants




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     Dated this 3rd day of June 2021.
                                        PANKEY & HORLOCK, LLC


                                        By: /s/ Larry A. Pankey       .
                                            Larry A. Pankey
                                            Georgia Bar No. 560725
                                            Attorneys for Plaintiff

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